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. Admitied in Colorado

May 7, 2013

Certified Mail, Return Receipt Requested

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City of Lakewood

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480 S. Allison Parkway
Lakewood, CO 80226-3127

Kathy Hodgson, City Manager
City of Lakewood

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John William Suthers, Esq.
Colorado Attorney General
1525 Sherman St., 7th floor
Denver, CO 80203 |

 

 
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Re: Injured Party: James Davies, Tami Davies, the Estate of James
Davies, and the minor children of James & Tami
Davies, 8924 West Capri, Littleton, CO 80123
Date of Injury: November 9, 2012

To Whom It May Concern,

This law firm represents Tami Davies, individually, as the personal representative
of the estate of James Davies, and as guardian of her minor children, with regard to
injuries sustained as the result of the shooting death of her husband, Officer James Davies
of the Lakewood Police Department, on November 9, 2012. Pursuant to the requirements of
the Colorado Governmental Immunity Act, C.R.S. § 24-10-109, this correspondence shall
serve as Notice of Claim. According to the above statute, if a claim is against any public
entity or an employee thereof, the notice shall be filed with the governing body of the public
entity or the attorney representing the public entity, Upon information and belief, the City
of Lakewood is the governing body of the Lakewood Police Department. If this is not the
case, please inform us who is the proper governing body of the Lakewood Police
Department.

In the early morning of November 9, 2012, Officer James Davies, and several other
members of the Lakewood Police Department were dispatched to the area of 1940 Eaton,
Kdgewater, Colorado, regarding reports of gun shots being fired. As part of the response to
this incident, Officer Davies was ordered to, and did, take an outer perimeter position on
the North side of the residence identified by the on-scene Officer in Charge, Sergeant
Michelle Current, as the source of the gun shots. Once the three occupants of the residence
surrendered and were in custody, several Lakewood Police Department officers entered the
residence to “clear” it, one of who was Sergeant Tom Grady. Once inside, these officers
discovered that there were several pit-bulls in the home. In order to contain these dogs, the
officers on scene requested that restraint and protective equipment be brought from the
LPD station. Officer Devaney Braley responded to this request and brought the requested
equipment. Once on scene, Officer Braley, a SWAT member, was recruited by Sergeant
Grady to participate in “clearing” the house from the exterior. Officer Braley, Sergeant
Grady, and another SWAT member then donned their tactical equipment and exited the
residence out of the north facing door that Officer Davies was watching, a position that
Officer Davies had communicated through several radio transmissions throughout the
morning. Officer Braley led the other two officers out of the residence, and began to scan
the backyard of the residence. Officer Braley saw Officer Davies’ head and shoulders above
the backyard privacy fence, he also saw a pistol in Officer Davies right hand. Officer Braley
yelled for Officer Davies to drop his gun and then almost immediately fired several rounds
at Officer Davies, one of which struck Officer Davies below his left eye. Officer Davies was
subsequently pronounced dead.

The City of Lakewood and the LPD, as municipal entities, were deliberately
indifferent, acted heedlessly, recklessly, and without regard to the rights and safety of the
public they are charged with the duty to protect, including Officer Davies. The willful and
wanton acts and omissions of these public entities were a moving force in the death of
Officer Davies.
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Further, the LPD’s command staff, including, but not limited to, Chief Kevin
Paletta, Sergeant Current, and Sergeant Grady, acted in a deliberately indifferent,
reckless, and willful and wanton manner. Moreover, their actions were not objectively
reasonable under the circumstances on November 9, 2012.

Finally, Officer Braley acted in a manner that was objectively unreasonable,
reckless, and deliberately indifferent, given the absence of a physical threat to Officer
Braley.

The City of Lakewood, the LPD, and their current and former employees, in their
official and individual capacities, violated Officer Davies, Tami Davies, and the Davies’
children’s civil rights, as well as their rights under Colorado law. Tami Davies,
individually, as administrator of the estate of James Davies, and as guardian of her
children, may assert claims for liability under 42 USC § 1988 for the deprivation of their
rights under the U.S. Constitution and common law actions under Colorado Law.

The estate of James Davies has suffered significant losses as a result of the death of
Officer Davies, including the loss of income and the death itself of Officer Davies. Tami
Davies has suffered significant damages as the result of her husband. The Davies’ children
have suffered the loss of their father, caregiver, and financial provider. We estimate that
the damages suffered by the estate of James Davies, Tami Davies, and the Davies’ children,
likely substantially exceeds $1,000,000.00.

Should you contend that a party other than the Lakewood Police Department is
liable for the injuries suffered, please provide the name of that party and an explanation as
to the reasons that party should be held liable. You may contact me at the telephone
number and address listed above.

Please note that this communication, in its entirety, and the contents shall not be
disclosed or disseminated in any meeting, or otherwise, as defined and pursuant to §24-6-
401 et seq. as this communication relates to a personnel matter. Tami Davies does not
provide consent at this time to discuss these personnel matters in any open meeting,
Further, this document is protected by the mandatory nondisclosure provisions of the
Colorado Open Records Act under §24-72-201 et seq. as it relates to a personnel matter.
Thank you in advance for your cooperation.

Sincerely,

OGBORN MIBM, LLP

  

Clayton E. Wire

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